                  Case 5:17-cr-00383-EGS Document 35-2 Filed 01/03/19 Page 1 of 10


                                               PETZOLD DIGITAL FORENSIC LAB
                                            2755 Station Ave., Center Valley, PA 18034
                                                       Phone 610.282.2547




                                     FORENSIC ANALYSIS WORKSHEET

                                                                            cF-17-00087
                                                                            Trooper Barton Josefowicz


                                                                            Jonathan D. Lan
                                                                            N/A

                                                       SUMMARY
             The requesting agency is investigating a sex offense and requested forensic analysis of
             digital evidence obtained during the investigation.

             The investigato(s) specifically requested extraction of digital artifacts related to but not
             limited to the following data:

             lnformation related to digital device usage, user information, electronic communications,
             call logs, event logs, texUchat messages, website & lnternet history, search history, image
             & video files and GPS/location data.

            The extracted artifacts may assist with the investigation.

             lnformation provided by investigator(s) to assist with the analysis.


        Subiect Name                    Subject Type                Device Association        Item # Association
            Zhinin, Sandro                  Accused                       Owner/User                   FL, F2, Gt
        Subject Name                    Subject Type                Device Association        Item # Association
                                            Victim                            N/A                         N/A
        Subject Name                    Subject Type                Device Association        Item # Association

        Subject Name                    Subject Type                Device Association        Item # Association

        Subject Name                    Subject Type                Device Association        Item # Association



                         Hanover Townshi




              frtr'
                                                         Page 1 of 10



            Jonathan D. [angton

Exhibit 2
      Case 5:17-cr-00383-EGS Document 35-2 Filed 01/03/19 Page 2 of 10


                                       PETZOLD DIGITAL FORENSIC LAB
                                    2755 Station Ave., Center Valley, PA 18034
                                               Phone 610.282.2547




                                     EVIDENGE SUBMITTED
 See Attachment       -   Request for Forensic Analysis Form.

                                           ACTION TAKEN
 3t27t2017

Digital items were submitted to the Petzold Digital Forensic Lab on a Request for Forensic
Analysis Form. A lab number of CF-17-00087 was assigned. All evidence submitted on
the lab request for forensic services form was examined and/or analyzed. Digital forensic
methods & procedures were used to examine all evidence. A summary of the forensic
methods and examination results is listed below.



             SOFTWARE/HARDWARE TOOLS UTILIZED (Ghecked):

Document Solutions, lnc USB Write Blocker                                    n
Tableau Ultrablock ll - ModelT35es (Write Block Device)                      tr
Tableau T35689iu Forensic Bridge (Write Block Device)                        n
Forensic Series AFT EX-S3 Memory Card Reader                                 tr
Guidance Software EnCase                                                     n
Access Data Registry Viewer                                                  tr
Access Data FTK lmager                                                       tr
Cellebrite UFED 4PC                                                          x
Cellebrite Physical Analyzer                                                 x
Cellebrite Write Block Forensic Memory Card Reader                          tr
Cellebrite Cloud Analyzer                                                   X
Tableau TD2u Forensic Duplicator                                            tr
Magnet Forensics lnternet Evidence Finder (lEF)                             n
None/Not Applicable                                                         n
Other                                                                       n




                                                 Page 2 of 10



Jonathan D. Langton
                  Case 5:17-cr-00383-EGS Document 35-2 Filed 01/03/19 Page 3 of 10


                                                                   PETZOTD DIGlTAt FORENSIC tAB
                                                                2755 Station Ave., Center Valley, pA 18034
                                                                           Phone 610.282.2547




                                                                       FORENSIG DETAILS
                                                                       DEVICE INFORMATION
flhe examirrerd€temln€ whlch   data bloclG aE opdonal or rclevant to the eraminaflont

           Item Number: F1
            Type Device: Cell Phone
           Manufacturer: Apple
                  Model: iPhone A1533
           Mobile Device
                   ldentifier: IMEI                                      013971006138041
         SIM Card:                        Yes. See Extraction Report for ICCID Number
 Memory Card Slot:                        No                 Size: N/A
Passcode/Password
                                          Passcode                        Value:          Unknown
        Protection:
 Damaqe to Device:                        No
 System Date/Time:                        N/A                            Actual Dateffime: r N/A
       Exam Complete:
                                          Partial. Device
                                          passcode protected.       Date of Exam:                       313012017
          Tvpe of Exam:                   Logical Extraction of SIM Card Data


                                                                                        INFORMATION
frhe examinsd€termins which data btocks   m    optonat or reteva",,,   PEYI9-H,
          Item Number:                    F2
           Type Device:                   Tablet
          Manufacturer:                   LG
                 Model:                 v49s
         Serial Number:                 604CQDG320482
          Mobile Device
                  ldentifier: IMEI                                       358169063204821
         SIM Card:                      No
 Memory Card Slot:                      N/A                                 Size:         N/A
Passcode/Password
                                        N/A                              Value:          N/A
        Protection:
 Damaqe to Device:                      Yes. Explain      Device Screen Cracked
 System Dateffime:                      NiA              Actual Dateffime: r N/A
   Exam Comolete:                       Yes. Successfullv.        Date of Exam: I ZtzztZOtl
     Type of Exam:                      Physical Extraqtion of Mobile Device




           F-ff
                                                                                 Page 3 of 10




        Jonathan D. Langton
                 Case 5:17-cr-00383-EGS Document 35-2 Filed 01/03/19 Page 4 of 10


                                                                 PETZOLD DIGITAL FORENSIC I-AB
                                                              2755 Station Ave., Center Valley, PA 18034
                                                                         Phone 610.282.2547




                                                                     DEVICE INFORMATION
[fhe   ffiinerdetemins   whigt datr blocks arc opdonal or releyant to tftc enmimlion]
      Item Number: G,I
       Tvoe Device: Cell Phone
      Manufacturer: Google
             Model: G-2PW4100 Pixel
          SIM Card: Yes. See Extraction Report for ICCID Number
 Memorv Card Slot: N/A                 Size: N/A
Passcode/Password
                     Passcode         Value: Unknown
         Protection:
 Damaqe to Device: No
 Svstem Date/Time: N/A               Actual Date/Time: I N/A
                     Partial. Device
   Exam Complete: passcode protected         Date of Exam: 3t30t2017
     Tvpe of Exam: Logical Extraction of SIM Card Data



                                                                           RESULTS
Evidentiary Items of Interest Discovered: Yes. see Extraction Report(s)

Additional Information                    :




Item #F2: LG V495 Tablet

One (1) video file of interest was located during the examination of the LG V495 Tablet. The
video file of interest appears to display sexual activity in a hotel room, as detailed in the
investigator's affidavit of probable cause, and can be located in the global extraction report
under "Tags". ln addition to the video file of interest, four (4) Skype instant message
conversations of interest were located, including what appears to be a possible conversation
with the alleged victim. These conversations can be located in the global extraction report, and
were also exported and attached as individual sub-reports.

The following screenshot depicts a Skype instant message conversation between a user named
           " with the display name of "l should just fucking die", who appears to be the alleged
victim, and the end user of the LG V495 tablet, using the Skype username "sam.1016", wit[ the
display name of "Sam L" on 31412017




                                                                                 Page 4   of 10

            ?ryf'
         Jonathan D. Langton
                           Case 5:17-cr-00383-EGS Document 35-2 Filed 01/03/19 Page 5 of 10


                                                  PETZOTD DIGITAL FORENSIC TAB
                                               2755 Station Ave., Center Valley, PA 18034
                                                          Phone 610.282.2547




iirtS
I


I




                 !.esrar-i.l:




    !';,   I




The following screenshots depict a Skype instant message conversation between the end user
of the LG V495 tablet, using the Skype username "sam.1016", with the display name of "Sam L",
and a possible juvenile using the Skype username "                 ", with the display name of
                  " on 31212017:
rrr €t

               tsti.-f:)
i;i S


it_j




                frff-
                                                            Page 5 of 10



               Jonathan D. Langton
               Case 5:17-cr-00383-EGS Document 35-2 Filed 01/03/19 Page 6 of 10


                                      PETZOTD DIGITAL FORENSIC tAB
                                   2755 Station Ave., CenterValley, PA 18034
                                              Phone 610.282.2547




  *@




The following screenshot depicts a Skype instant message conversation between the end user
of the LG V495 tablet, using the Skype username "sam.1016", with the display name of "Sam L",
and a possible juvenile using the Skype username              ", with the display name of
                 " on 112212017:
\;a'.
                                                                                                 €r

                                                                                -$'-!.:-it:llj




r".     €i


i4 t$




                                               Page 5 of 10


             ?4fr{.
         Jonathan D. Langton
                    Case 5:17-cr-00383-EGS Document 35-2 Filed 01/03/19 Page 7 of 10


                                           PETZOLD DIGITAT FORENSIC tAB
                                        2755 Station Ave., Center Valley, PA 18034
                                                   Phone 610.282.2547




The following screenshot depicts a Skype instant message'conversation between the end user
of the LG V495 tablet, using the Skype username "sam.1016", with the display name of "Sam L",
and a possible juvenile using the Skype username              ", with the display name of
                 " on 21412017:
                                                                                                  I

 ir.   &

 !{l {S


 u

 Gr    €f


 ir: {3

            :ar::il:i

The following screenshot depicts a Skype instant message conversation between the end user
of the LG V495 tablet, using the Skype username "sam.l0'l6", with the display name of "Sam L",
and a possible juvenile using the Skype username                       , with the display name
of                  " on 212312017:
                                                                                                  a

irt   s




[1



                                                                                     !:daes-{l]

                                                     Page 7 of 10


            f;Efrf;
          Jonathan D. Langton
                             Case 5:17-cr-00383-EGS Document 35-2 Filed 01/03/19 Page 8 of 10


                                                        PETZOLD DIGITAL FORENSIC LAB
                                                     2755 Station Ave., Center Valley, PA 18034
                                                                Phone 610.282.2547




The following screenshot depicts a Skype instant message conversation between the end user
of the LG V495 tablet, using the Skype username "sam.1016", with the display name of "Sam L",
and a possible juvenile using the Skype username '                      with the display name
of "                  on 212212017:

  r.l fB

                    E   ;,..:,g-r_ill

  il_i




  rfl     6e



 'cl




                                                                                                           '.t_:ii;-t!.i:j




                    1. ,;::.?.i L3:



Additionally, remotely stored digital artifacts from a Google user account were subsequently
acquired through the utilization of Cellebrite Cloud Analyzer. Data was acquired from the
following account:
                                   Google: Sandro Zhinin (szhinin@gmail.com)

A report was generated that contains the acquired data, which has been saved to external
media. Three (3) Google internet history artifacts of interest can be located in the global Cloud
Analyzer Report, and are excerpted below:

The following screenshot depicts one (1) Google internet history artifact pertaining to the Red
Roof lnn on 31412017:


         ',   1 ! ''Jsicc   i.gn I Cid*n: a?.3t,.a                                                3.';1:6r? 1:J5 $.1   -oi.ia   ttl
i4 :if,irf,;h,i,r

i1::ar: '6 in:,is:.,,: ii Ii.- 1:t..'-llql qtEJi
rED ReOr t;r! 4ur,$Ciit'ii tj..PORt


                                                                   Page 8 of 10
                    !/ ,-F-Z--r-oz--
                         rz"/?_:1,r2__
                        /a/'     //.r'
                    ,l'       /'
               Jonathan D. Langton
           Case 5:17-cr-00383-EGS Document 35-2 Filed 01/03/19 Page 9 of 10


                                        PETZOLD DIGITAL FORENSIC LAB
                                     2755 Station Ave., Center Valley, PA 18034
                                                Phone 610.282.2547




The following screenshot depicts two (2) Google internet history artifacts pertaining to the
Scottish lnn on 311112017:


                                                                                    ;, ir   "?ri: !::: :l.l'.:5':.3




Extraction Reports were created: Yes. Saved to external media.

It is recommended the investigator(s) review the extraction report(s) for artifacts of evidentiary
value.

AII items of evidence were returned to the investigating agency.




       f-ffi-
                                                  Page 9 of 10



     Jonathan D. Langton
            Case 5:17-cr-00383-EGS Document 35-2 Filed 01/03/19 Page 10 of 10


                                                     PETZOLD DIGITAT FORENSIC tAB
                                                  2755 Station Ave., Center Valley, PA 18034
                                                             Phone 610.282.2547




                                SUMMARY FORENSIC METHODS & DEFINITIONS
 Digital Forensic Procedures are followed to preserve original evidence and to prevent the altering or changing of any data.
 Digital evidence is protected during the forensic examination process by utilizing hardware and/or software write blocking
 meihods/procedures. For example, a hard disk drive is attached to a computer forensic recovery device via a write block
 device and is then forensically previewed and/or imaged (acquired). During the acquisition process, a bit-for-bit image is
 created - including allocated flles, unallocated space (includlng erased files), slack space (including disk, volume and random
 access memory [RAM] slack), and unused disk space. Disk and volume slack is the space between the logical end and the
 physical end of a file (EOF), or disk, or volume where deleted files and text fragments may be recovered. RAM slack is the
 space from the end of ihe flle to the end of the containing sector. After the acquisition process, the original digltal device is
 returned to evidence. The image is then analyzed using one or more forensic software suite tools. Such as; Guidance Software
 EnCase Forensic Software, AccessData FTK (Forensic Tool Kit) andior other forensic tools.

When processing mobile devices, a hardware extraction tool and/or software tools are utilized to assist in the recovery and
interpretation of user data from the device. One such tool is Cellebrite's Unlversal Forensic Extraction Device (UFED).
Depending on the device the following forensic methods are used for data extraction:

Logical Extraction: ertraction of data is performed through the device's application programming interface (Apl). Upon
connection, UFED loads the API to the device. The API extracts data in a read only mode from the operating system. This
process enables the acquisition of most of the live data In the device, in a readable format and forensically sound manner.

Physical Extraction: provides a bit for bit copy of the entire flash memory of the device. This method enables the acquisition
of live data, hidden and/or deleted data. Customized boot loaders (small program) that includes read only functionality are used
to extract data.

File System Ertraction: acquisition of files (data) embedded in the memory of a device. This is a process of extracting data
from the devices memory including images, videos, database files system files and logs. Most of the built in and user
applications (apps) store their data in these database files.

Global System for Mobile Telecommunications (GSM): Cellular network standard used by mobile devices around the world.

 lnternational Mohite Equipment tdentifier (lMEt): Unique number used to identify mobile devices using the GSM standard. lt
is typically 15 digits & structured into three parts. Type allocation code (TAC): first 8 digits - identifies the vendor & mode of the
device. Serial Number (SN): 6 digits after TAC. Checksum: (Optional) Algorithm computed against the TAC & SN for
authentication & to verify integrity of the lMEl.

Subscriber ldentification Module (SIM/.. Smart card used to identify & authenticate subscribers of mobile devices on the
service provider network.

lntegrated Circuit Card ldentifier (lCClD): 19 or 20 digit serial number that uniquely identifies a SIM card.

tnternational Mobile Subscriber ldentifier (lMSl): 14 or l|digit number that uniquely identifies the subscriber with a cellular
network provider.

Mobile subscriber    IS   DN (MslsDN):   1   1   digit number used to reach the mobile device.

Code Division Multiple Access (CDMA): Cellular network standard used by mobile devices.

Mobile Equipment ldentifier (MEID): Unique number (15 digit Hex number) used to identify mobile devices using the CDMA
standard.




     ffi
                                                               Page 10 of 10



   Jonathan D. Langton
